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IN THE UNITED STATES DISTRICT COURT 575/agr x 0
FOR THE WESTERN DISTRICT oF TENNESSEE \ 35 4 5
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f“6<`/’?]/ § O/W;JZ/f“
JIMMY WAYNE FORSYTHE and wife, ) ' -~U,a&,§/. C>~
FREDA JoY FoRsYTHE, ) '~’@tf
)
Plaintiff, )
)
v. ) No.= 03-1110-An
)
RUPoRT BARNES, and )
DOGGETT AUTo & TRUCK, )
)
Defendants. )

 

AMENDED RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates were

established as the final dates for:

COMPLETING ALL DISCOVERY: January 9, 2006
FILING DISPOSITIVE MOTIONS: January 27, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: February 3, 2006
(b) for Defendant: February 10, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

 

The parties have consented to trial before the Magistrate Judge and will file a wn`tten
consent form with the court.

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The trial of this matter is expected to last 2-3 days and is SET for .]URY TRIAL
on TUESDAY, MARCH 7, 2006 at 9:30 A.M.. A joint pretrial order is due on FRIDAY,
FEBRUARY 24, 2006. ln the event the parties are unable to agree on a joint pretrial order, the
parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery For example, if the FED. R. CIV. P. allow 30 days for a party to
respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all
motions, except motions pursuant to FED. R. CIV. P. 12, 56, 59, and 60, shall be accompanied by
a proposed Order and a Certificate of Consultation.

T he opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties are encouraged to engage in court-annexed attorney mediation or private

mediation on or before the close of discovery

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or

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extended

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: 77/(47 256 2001/d

   

UNITD sATEs DISTRIC COURT - WETERN DISRITCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 1:03-CV-01110 Was distributed by fax, mail, or direct printing on
May 26, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

